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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
ALBERT BUTLER, §
§
Plaintiff, § CIVIL ACTION NO. 3:l4-CV-199l
§
§
v. § JURY TRIAL DEMANDED
§
THE CITY OF DALLAS, TEXAS, §
AND BRIAN BRADLEY, §
§
Defendants. §

PLAINTIFF‘S FIRST AMENDED COMPLAINT

COMES NOW, Albert Butler and complaining of Defendants, The ClTY OF DALLAS,
TeXas, more particularly The CITY OF DALLAS Police Department, by and through its agent
and servant acting in his official capacity, Officer Brian Bradley and in his official capacity as a
Dallas police officer and for cause Would ShoW the Honorable Court as follows:

NATURE OF THE ACTION

l. This is an action brought by the Plaintiff against The CITY OF DALLAS for
Dallas Police Officer Brian Bradley’s use of excessive force, assault, unlawful arrest and
detention resulting in the injuries sustained by Albert Butler (“Butler”) under the color of law in
violation of his individual rights under the Fourth and Fourteenth Amendments of the United
States Constitution and in violation of his civil rights pursuant to 42 U.S.C. § l983.

2. Plaintiff alleges that the City l\/lanager, A.C. Gonzalez ("Gonzalez"), Who is
responsible for the daily operations of The CITY OF DALLAS and Chief of Police, David O.
Brown ("Brown"), delegated With the authority for setting policies, including training of the
Dallas Police Officers, had a duty, but failed to implement and/or enforce policies, practices and

procedures for the Dallas Police Department (“DPD”) that respected his constitutional rights to

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protection and equal treatment under the law. This duty was delegated to Chief` Brown by the
Dallas City Council and City l\/Ianager Gonzalez. Defendant The CITY OF DALLAS, City
l\/lanager Gonzalez, Mayor Rawlings and Chief Brown’s failure to implement the necessary
policies and the implementation of unconstitutional policies deprived Butler of equal protection
and due process under the fourth and Fourteenth Amendments and caused his unwarranted and
excruciating physical and mental anguish For these civil rights violations and other causes of
action discussed herein, Plaintiff seeks answers and compensation for their damages
PARTIES

3. Plaintiff, Albert Butler is a citizen of the United States and a resident of Dallas
County, Texas.

4. Defendant The CITY OF DALLAS is a municipality located in Dallas County,
TeXas. The CITY OF DALLAS operates the DPD. The CITY OF DALLAS funds and operates
the DPD, which, along with City Manager Gonzalez, Chief Brown and Mayor Rawlings are
responsible for the implementation of the police department’s budget, policies, procedures,
practices, and customs, as well as the acts and omissions, challenged by this suit. The ClTY OF
DALLAS POLICE DEPARTMENT is also responsible for preventive, investigative, and
enforcement services for all citizens of The ClTY OF DALLAS. The ClTY OF DALLAS may y
be Served with citation herein by and through its agent for service of process, Warren Ernst, City
Attorney, Dallas City Hall, 1500 Marilla Street, Dallas, Texas 75201. Additional service is
being made on Mayor l\/like Rawlings, 1500 Marilla Street, Room SEN, Dallas, Texas 7520l.

5. Defendant Bn`an Bradley (“Bradley”), upon information and belief, is a resident
of Dallas County, Texas, and at all times material herein was a police officer acting in the course

and scope of his employment for The ClTY OF DALLAS and DPD. Defendant Bradley may be

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Served with citation at the Dallas Police Department, 1400 S. Lamar, Dallas, Texas 75215 or
wherever he may be found.
JURISDICTION AND VENUE
6. Jurisdiotion exists in this court pursuant to 28 U.S.C. §§ 1331 and 1343 as this
action is brought under, inter alia, the Fourth and Fourteenth Amendments of the United States
Constitution and 42 U.S.C. § 1983, to redress the deprivation of rights, privileges and immunities
guaranteed to Plaintiff by constitutional and statutory provisions Plaintiff further invokes the
Supplemental jurisdiction of this court pursuant to 28 U.S.C. § 1367 to adjudicate pendent claims
arising under the laws of the State of Texas.
7. Venue is proper in this court because the causes of action occurred within the
Northern District of Texas, Dallas Division. l
_SLW§
8. To the extent applicable, Defendant Bradley was acting under the color of state
law when he subjected Plaintiff to the wrongs and injuries hereinafter set forth.
r_A_CLS
9. On or about December 7, 2012, Albert Butler, after shopping for the holidays at
Walmart, was driving home eastbound at 9700 Forest Lane when a police vehicle driven by
Defendant Bradley pulled alongside Butler's vehicle and stared at him in a very strange manner
for no reason at all. Defendant Bradley followed Butler for a short distance before he made a u-
turn and headed westbound. Butler thought Defendant Bradley's actions were unusual but was
not worried since he was not violating any traffic laws.
10. Butler continued his drive home but suddenly noticed that Defendant Bradley, for

reasons unknown, made a u-turn and was once again following him for no lawful reason. Butler

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was not speeding nor was he violating any traffic laws so he was confused as to why Defendant
Bradley was following him so closely and as a result became extremely concerned and worried.

l 1. After trailing Butl er for a short distance, Defendant Bradley pulled directly behind
Butler's vehicle and activated his light bar. Butler continued driving until he could safely pull
over to the side of the road. Butler remained in his vehicle and did not exit until he received
instructions from Defendant Bradley. Defendant Bradley approached Butler and immediately
began a body search for no lawful reason and without consent Despite Defendant Bradley‘s
unlawful conduct, Butler remained cooperative and did not resist.

12. Defendant Bradley searched Butler’s pockets, conducted apat down and would
not respond to Butler when asked why he was being harassed. Defendant Bradley conducted a
search of Butler despite his inability to point to “specific and articulable facts” that would
indicate to a reasonable person that a crime has been, is being, or is about to be committed. As
Defendant Bradley searched Butler he looked towards his vehicle and realized that he was in
view of the dash carn videot lt was at that point that Defendant Bradley led Butler to the back
of his car and ordered him to the ground. Not fully understanding what was happening and
unable to clearly understand exactly what Defendant Bradley was saying, Butler advised
Defendant Bradley that he could barely bend down because of an injury and indicated he was in
pain. Defendant Bradley ignored Butler's plea and continued his assault Defendant Bradley
grabbed Butler by his neck and unnecessarily, willfully, maliciously and without provocation
body slammed him to the ground. Defendant Bradley dragged Butler out of the view of the
dash cam video and repeatedly kicked and punched him and placed his knee on Butler’s neck
making it difficult for him to breathe, while he was restrained in handcuffs and unable to defend

himself from the unlawful assault.

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13. At one point Butler screamed “Oh God” and asked Defendant Bradley what did
he do but Defendant Bradley did not respond and continued his assault on Butler. At one point
Butler was vomiting and had an asthma attack. The only thing that stopped Defendant Bradley
from further assaulting and/or killing Butler was the arrival of additional police officers Butler
was transported to the hospital where he was treated for the injuries he received

14. As of result of the incident, Butler suffered severe injuries to his back, his left
wrist, which required surgery and he received multiple lacerations to his head. Butler has had
multiple surgeries to repair injuries to his knees and his right hand, which will require additional
surgery. The pressure placed on Butler's back and neck caused severe damage, which he is
currently undergoing medical treatment to treat what has been diagnosed as nerve damage

15. Defendant Bradley searched Butler’s vehicle and removed his wallet out of his
pocket and prevented him from leaving until he was issued a citation. The Defendant Officer
had no probable cause or reasonable suspicion to believe that Butler was or had committed a
crime. Butler did not consent to the search of his vehicle or his body.

16. ln an effort to justify his behavior, Defendant Bradley issued a citation to Butler
citing him for making an improper tum. The issuance of this citation by Defendant Bradley was
malicious and without reasonable or probable cause and was an attempt to cover up and justify
his offensive and malicious acts and conduct,

17. The acts of Defendant Bradley are a pattern of conduct by Dallas Police Officers
consisting of beatings, assaults and intimidation during arrest and booking procedures by which
said defendant and other officers, acting under color of law, have denied to various persons the
rights, privileges and immunities guaranteed to them by the Constitution and laws of the United

States.

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18. As a result of the incident, Butler filed a complaint with the Dallas Police
Department’s lnternal Affairs Department alleging excessive force but they failed to take any
action against Defendant Bradley. See Exhibit A. Butler timely filed an appeal of the lnternal
Affair's decision with the Citizens Police Report Board (the "Board"). On or about November
12, 2013, the Board found that inappropriate force was used on Butler. See the Citizens Police
Review Board Meeting Record, line item No. 5, Allegation #1 attached hereto as Exhibit B.
During the course of the investigation, it was discovered that Defendant Bradley did not check
out a body microphone as required by General Order 328.03. See Chain of Comrnand
Recommendation CN 2012-462 attached hereto as Exhibit C. lt was also discovered that
Defendant Bradley wore his long sleeve uniform shirt with both sleeves rolled up which is in
violation of General Order 802.03. id.

19. As a result of the Defendant Officer’s unlawful attack on Butler, he feared for his
life and suffered severe injuries. Butler was beaten and wrongfully detained by Defendant
Bradley for no lawful reason at all.

20. The CITY OF_ DALLAS, City l\/lanager Gonzalez and Chief Brown knew of
Defendant Bradley’s behavior and lack of training but did nothing to protect Plaintiff and others
from the harm he suffered

21. Defendant, The CITY OF DALLAS and DPD has a longstanding record of not
providing DPD officers with adequate training and not preventing excessive force, racial
profiling or wrongful arrests by Dallas Police officers Dallas City Councilman Dwaine
Caraway confirmed to newsmakers that the city council and The CITY OF DALLAS had in fact
delegated policy-making authority to Chief Brown, giving him the responsibility for setting

training policies and that there are training issues.

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22. ln fact, City Councilman Caraway and Chief Brown have both acknowledged
that there are issues with police training ln fact, Chief Brown has admitted that “there is a need
for a additional police training As a result of the lack of training and the official custom or
policies of the DPD, the following incidents have taken place in The ClTY OF DALLAS under
the direction of City Manager Gonzalez, Mayor Rawlings and Chief Brown:

' Dallas is at the top of the list of police misconduct stats in the South, along with

Houston, San Antonio and lrving

' Dallas ranked #`11 in the highest police misconduct rates, ranking higher than all of

Orange County, California.

' Dallas ranked second nationally in police misconduct incidents, behind #1 New

Orleans.

' Since 2001 , over 60 unarmed black men have been killed by Dallas Police Department

23. There’s been a number of incident involving the DPD where it was found that
individuals were harassed and/or arrested for no lawful reason. Ronald Bemard Jones was
arrested and charged with two felonies _ which were later dismissed ~» after he was stopped
walking near Reunion Boulevard in 2009 when Officer l\/latthew Antkowiak drove up in a squad
car and stopped him. A police report stated that J ones threw a beer can at Antkowiak, which is
not seen in the video. The officer also told investigators that J ones turned around suddenly while
he was frisking him on the squad car hood, so he took him to the ground and engaged in a
struggle The officer claimed that he hit his head hard on the pavement and was disoriented after
that, according to the investigation He told a sergeant that J ones began to choke him and kicked
him so hard between the legs that he was actually lifted off the ground The video showed that

didn’t happen, according to the investigation ln another incident, J esse Aquino ("Aquino") was

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disciplined for being untruthful in a police report. Aquino‘s deceit was captured by an in dash
camera video of him stopping Robert Lyons Aquino claimed he stopped Lyons because he was
walking in the middle of the street but the dash earn video revealed there was no sidewalk and
Mr. Lyons was not walking in the middle of the street. Despite this, Aquino stopped, searched
him and eventually wrongfully arrested him.

24. There exist, a persistent, widespread practice of excessive force and wrongful
arrests that results from the training or lack thereof, received by DPD officers Upon information
and belief, DPD officers are trained by individuals with little or no experience working in the
field

25. Recommendations for revisions in the DPD‘s policies and procedures regarding
the use of deadly force were made by Geoffrey P. Alpert in 1987. lt was stated that to protect the
safety of the citizens and officers, a new philosophy and a new approach would be required ln
order for Dallas to enter the 1990's with a set of police policies, procedures and customs
commensurate with its high set of municipal values7 a conscious decision must be made to
overhaul a system creaking with age and tradition, and made obsolete by the challenges of a new
generation of citizens

26. The Dallas City Council, which authorized this study, outlined the five major
areas to be examined The areas includc:

a) The Police Officer Applicant Selection Process;

b) Teaching l\/lethods and l\/laterials on the Use of Deadly Force;
c) "Shoot-Don't-Shoot" Training;

d) Weapons' Training; and

e) Policies Relating to the Use of Deadly Force.

27. lt was recommended that a formal procedure such as an Early Warning System be

developed and implemented to identify officers who are prone to emotional instability or

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behavior problems lt was clear that The CITY OF DALLAS, City l\/lanager Gonzalez and Chief
Brown knew of the Defendant Officers’ emotional instability and prior behavior and/or acts, but
did nothing to correct the problem as recommended lt was further recommended that all
officers be required to participate in at least 40 hours of in-service training each year which is
selected and designed to update them on departmental philosophy, procedures, skills and
techniques lt was also recommended that any training which places recruits or officers in
stressful situations should be used to assist in improving the individual's performance For
example, an Early Warning System which can assist in the identification of officers who are
experiencing stress could eliminate harmful consequences of stress or performance problems
before they occur. Although no particular set of criteria can determine stress or performance
problems, a system can be established to identify those officers who may be experiencing
problems An early warning system makes no conclusions or determination about stress or
performance, but does assist supervisory personnel in evaluating potentially troublesome
behavior. Simple criteria including complaints made against the officer, number of times officer
has used force, involvement in traffic accidents can be among the factors used to identify officers
who may be heading for trouble.

28. As aforesaid, the Defendant Officer made a unjustified traffic stop, search and
detention of Butler where Defendant Bailey used excessive force for no lawful reasons There is
no evidence that the Defendant Officer was in any imminent dangert The dash cam video
obtained from Defendant Bradley's Squad car clearly shows that Butler did not resist or did
anything that would require the use of excessive force.

29. Butler posed no risk to the Defendant Officer or any other person in the

immediate area. Butler was not violating any traffic laws as shown in the dash cam video nor

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was he resisting the unlawful search. Butler did not attempt to harm the Defendant Officer and
was not committing a crime or reasonably believed to have committed a crime when the officer
stopped him, searched him and later assaulted him.

30. Defendant Bradley’s unlawful and unwarranted acts, lack of training and the
official customs or policies of the DPD caused Plaintiff’ s injuries

31. Plaintiff would show that at all times material hereto, Defendant Bradley was
acting in the scope of his employment as agent, servant, and employee of Defendant The ClTY
OF DALLAS, specifically the DPD, within its executive branch and was performing a
goverrnnental function

32. Plaintiff would further show that Defendant Bradley’s actions were the result of,
or within the scope of, wrongful and reckless customs, policies, practices and/or procedures of
the DPD in regards to the use of excessive force for which The ClTY OF DALLAS, City
Manager Gonzalez and Chief Brown knew or should have known but never provided the
requisite and proper training

33. Moreover, no reasonably competent official would have concluded that the
actions of Defendant Bradley described herein would not violate Plaintiffs rights ln other
words, no reasonably prudent police officer under similar circumstances could have believed that
Defendant Bradley’s conduct was justified

34. As a direct and proximate result of Defendants’ conduct, Plaintiff has sustained
substantial damages and pecuniary losses

35. Upon information and belief, the DPD has not implemented policies and

procedures to aggressively curtail the use of excessive force that has been a major problem since

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the early eighties when the DPD was the subject of a Federal lnvestigation and continues to exist

today.

EXCESSIVE FORCE
COUNT I-42 U.S.C. § 1983

36. Plaintiff incorporates by reference paragraphs 1 through 35 as if fully set forth
herein. Plaintiff would show that Defendant Bradley’s actions on the occasion in question were
wrongful and constituted gross negligence in depriving him of his constitutional rights, as
alleged more fully below.

37. Plaintiff would show that at all times material hereto, Defendant Bradley had a
duty to avoid infliction of unjustified bodily injury to him, to protect his bodily integrity and to
not trample on his constitutional rights

38. Plaintiff would show that Defendant Bradley failed to act as a reasonable police
officer would have acted in the same or similar circumstances That is, Defendant Bradley,
without justification and the need to do so, wrongfully detained, arrested and assaulted Butler as
described above without probable cause and/or legal justification Butler did not break any
traffic laws nor was he committing any crimes or resisting when the Defendant Officer assaulted
him. The Defendant Officer placed Butler in fear of losing his life and caused severe injuries,
which continue to affect Butler today.

39. Plaintiff would further show that the excessive force used by Defendant Bradley
was not reasonable, justified nor was it necessary under the circumstances

40. Defendant Bradley’s actions were not objectively reasonable because they
followed a procedure designed to inflict excessive force in restraining individuals in a non-life

threatening situation The Defendant Officer arrested and assaulted Butler for no lawful reason.

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41. Plaintiff would show that Defendant Bradley denied Plaintiff his right to be free
from deprivation of his rights without due process of law, in violation of the Fourth Amendment
to the United States Constitution. Plaintiff would show that Defendant Bradley was acting
within custom, policy, practice and/or procedure of the DPD in regards to the use of excessive
force as authorized and/or ratified by City Manager Gonzalez and Chief Brown at the time of the
incident Plaintiff would further show that as a result of these violations of his rights, he’s
suffered damages within the jurisdictional limits of this court.

42. The force used by Defendant Bradley was unnecessary and unreasonable under
the circumstances as Butler, who was wrongfully detained during a traffic stop, was not resisting
and did not require the use of such excessive force. Defendant Bradley had no probable cause to
suspect that a crime was being committed or that his conduct was reasonable

RACIAL PROFILING
COUNT II CIVIL RIGHTS ACTION

43. Plaintiff incorporates by reference paragraphs 1-42 as if fillly set forth herein.

44, Racial Profiling: Plaintiff would show that Defendant Bradley clearly and
wrongfully used race as a factor, a proxy, for reasonable suspicion and using excessive force on
him. Additionally, Plaintiff would show that it is the official customs, policies and practices of
the DPD in regards to the use of excessive force as authorized and/or ratified by City Manager
Gonzalez and Chief Brown to treat African Americans in a cruel manner regardless of the
circumstances or the need to. The facts show that there was no probable cause for Butler’s
arrest. ln fact, Plaintiff would show that the excessive force used by Defendant Bradley was not
reasonable nor was it necessary as Butler had not violated any law as evidenced by the incident
which was captured on the dash cam video obtained from Defendant Bradley’s police vehicle.

Butler was not resisting nor did he place Defendant Bradley in fear of imminent harm and/or

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danger Defendant Bradley treated Butler in the manner he did because Butler is black. The
poor treatment of African Americans by the DPD is a well-known fact in Dallas, Texas. Plaintiff
Would show that Defendant Bradley’s actions were in violation of TEX, CODE CRll\/l. PROC.
ANN. Art. 2.131-137 (Vemon Supp. 2004) and is therefore strictly liable to Plaintiff.

45. Plaintiff would show that Defendant Bradley was acting within established
wrongful and reckless customs, policies, practices and/ or procedures of the DPD in regards to the
use of excessive force as authorized and/or ratified by City Manager Gonzalez and Chief Brown
at the time of the incident and further that Defendant The CITY OF DALLAS knew or should
have known of these said malicious customs, policies, practices and/or procedures for which City
Manager Gonzalez and Chief Brown knew or should have known but never provided the
requisite and proper training. Butler would further show that as a result of these violations of his
rights, he’s suffered damages within the jurisdictional limits of the Court. Defendant Bradley
under the color of law, deprived Plaintiff of his civil rights, privileges or immunities secured by
the Constitution and laws pursuant to 42 U.S.C. § 1983.

FAILURE TO TRAIN
COUNT III 42 U.S.C. § 1983

46. Plaintiff incorporates by reference paragraphs l through 45 as if fully set forth
herein.

47. Defendant Bradley, acting under color of law and acting pursuant to customs,
practices and policies of The CITY OF DALLAS and the DPD in regards to the use of excessive
force as authorized and/or ratified by City Manager Gonzalez and Chief Brown deprived
Plaintiff of rights and privileges secured to him by the Fourteenth Amendment to the United
States Constitution and by other laws of the United States, by failing to provide proper training

in the use of excessive force in violation of 42 U.S.C. § 1983 and related provisions of federal

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law and in violation of the above cited constitutional provisions The DPD, City Manager
Gonzalez and Chief Brown deliberate indifference in failing to train based on the obviousness of
the need for training has resulted in a number of wrongful arrests ln fact, there have been a
number of wrongful arrests in the past two years alone.

48. With respect to the claims made the basis of this lawsuit, The CITY OF DALLAS
and the DPD failed to adequately train its employees regarding the use of excessive force. The
failure to train its employees in a relevant respect reflects a deliberate indifference to The ClTY
OF DALLAS, DPD, City Manager Gonzalez and Chief Brown to the rights of the city’s
inhabitants and is actionable under 42 U.S.C. § 1983.

49. Defendant The ClTY OF DALLAS and DPD under the direction of City Manager
Gonzalez and Chief Brown developed and maintained a policy of deficient training of its police
force in the use of force, including the use of excessive force in the apprehension of individuals
The ClTY OF DALLAS' training is designed and implemented by Chief Brown to act in this
regard

50. The CITY OF DALLAS and the DPD's failure to provide adequate training to its
police officers regarding the use of excessive force reflects deliberate indifference by City
Manager Gonzalez and Chief Brown and reckless and conscious disregard for the obvious risk
that officers would use excessive force on citizens and made the violations of Plaintiff’ s
constitutional rights, a reasonable probability

51. Plaintiff would show that Defendant Bradley’s actions were the result of, or
within the scope of, wrongful and reckless customs, policies, practices and/or procedures for
which The CITY OF DALLAS, City Manager Gonzalez and Chief Brown knew or should have

known but never provided the requisite and proper training

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52. On information and belief, Defendant The CITY OF DALLAS, DPD, City
Manager Gonzalez and Chief Brown, acting through official policies7 practices, and customs, and
with deliberate, callous, and conscious indifference to the constitutional rights of Plaintiff failed
to implement the policies, procedures; and practices necessary to provide constitutionally
adequate protection and assistance to Butler during his struggle to survive and implemented
policies, procedures, and practices which actually interfered with or prevented with or prevented
Plaintiff from receiving the protection, assistance and care he deserved

53. For instance, the following conduct, policies, and customs, inter alia, by
Defendants violated Plaintiffs constitutional rights:

a. The CITY OF DALLAS and the DPD's failure to adequately train or discipline its officers;

b. Defendants’ policy on the use of deadly force, which encourages officers to shoot first and ask
questions later;

c. Defendants’ foot pursuit policy;

d. Failing to recognize officers with emotional problems based on prior violations;

g. Failure to conduct the type of investigation that would have been conducted had he not been a
minority or a resident in a high crime area;

h. Failure to get more police employees properly trained to professionally handle foot pursuits

i. 72-hour waiting period policy allows perpetrators of deadly shootings to walk free.

54. ln addition, Defendant The ClTY OF DALLAS, DPD, City Manager Gonzalez
and Chief Brown as applicable, failed and refused to implement customs, policies, practices or
procedures, and failed to train its personnel adequately on the appropriate policies, practices or
procedures regarding the use of excessive and deadly force. ln so doing, Defendant The ClTY

OF DALLAS knew that it was acting against the clear dictates of current law, and knew that as a

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direct consequence of their deliberate decisions, the very situation that occurred -- i.e¢, Plaintiff’s
injuries -- in all reasonable probability would occur.

55. Defendants’ actions demonstrate that before his injuries Plaintiff was the victim
of purposeful discrimination, either because of his race and/or gender, or due to an irrational or
arbitrary state classification unrelated to a legitimate state objective

56. Additionally, no rational basis existed for The CITY OF DALLAS and the DPD's
alleged policies of affording minorities less police protection or assistance than other crime
victims or giving these victims less investigative attention than other victims Furthermore,
unlike what Defendant Bradley did, no reasonably prudent police officer, under similar
circumstances would have used excessive when no crime had been committed l\./loreoverj no
reasonably competent official would have concluded that the actions of The ClTY OF DALLAS
and Defendant Bradley described herein would not violate Plaintiff’ s rights ln other words, no
reasonably officer, under similar circumstances could have believed that their conduct was
justified

57. The ClTY OF DALLAS and the DPD's failure to properly train its police officers
regarding the use of force under the authority of City Manager Gonzalez and Chief Brown was
the proximate cause of the violations of Plaintiffs constitutional rights

FALSE ARREST
COUNT IV - 42 U.S.C. § 1983

58. Plaintiff incorporates by reference paragraphs 1 through 57 as if fully set forth

herein.

59. Additionally, and in the altemative, Plaintiff would show that Defendant
Bradley’s actions were objectively unreasonable and done in bad faith in that he arrested Butler

without probable cause, after assaulting him for no lawful reason. Butler did not commit a crime

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or violate any traffic laws as the evidence would show and simply was driving home when he
was racially profiled and harassed by the Defendant Officer. Plaintiff would further show that
he’s suffered damages within the jurisdictional limits of this court as a result of the wrongful
arrests and that such arrest was done under the color of law. Plaintiff would show that Defendant
Bradley was acting within the official customs, policies, practices and/ or procedures in regards to
the use of excessive force as authorized and/or ratified by City Manager Gonzalez, Chief Brown
and The ClTY OF DALLAS at the time of the incident Plaintiff would additionally show that
Such wrongful arrest was done in violation of Butler’s rights under the Fourth Amendment of the
United States Constitution, as incorporated to the states by the Fourteenth Amendment, and that
Plaintiff has suffered damages within the jurisdictional limits of this court as a result of the
violations of his rights

60. Defendant Bradley was acting under the color of law when he deprived Butler of
his constitutional rights to be free from false arrest

61. Additionally and in the alternative, Plaintiff would show that Defendant Bradley’s
actions were objectively unreasonable and done in bad faith because he was without probable
cause to think that Butler had committed a crime and/or violated any traffic laws Plaintiff
would further show that he’s suffered damages within the jurisdictional limits of this court from
the wrongful arrest done under the color of law. Plaintiff would show that Defendant Bradley
was acting within custom, policy, practice and/or procedure of The CITY OF DALLAS and
DPD in regards to the use of excessive as authorized and/or ratified by City Manager Gonzalez
and Chief Brown at the time of the incident Plaintiff would additionally show that such
wrongful act was done in violation of Butler"s rights under the Fourth Amendment of the United

States Constitution, as incorporated to the states by the Fourteenth Amendment, and that Plaintiff

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has suffered damages within the jurisdictional limits of this court as a result of these violations of

his rights

ASSAULT AND BATTERY
COUNT V

62. Plaintiff incorporates by reference paragraphs 1 through 61 as if fully set forth
herein.

63 Defendant Bradley intentionally and without consent placed Plaintiff in
apprehension of imminent harmful contact and caused harmful bodily contact to him.

64. As a proximate result of the foregoing, Plaintiff suffered grievous bodily harm,

Substantial physical and emotional pain.

NEGLIGENT FAILURE TO TRAIN AND DISCIPLINE
COUNT Vl

65. Plaintiff incorporates by reference paragraphs 1-64 as if fully set forth herein.
Additionally and in the altemative, Plaintiff would Show that at all times material hereto,
Defendant The ClTY OF DALLAS and the DPD lacked guidelines both to restrict the use of
force, including the use of excessive force or if such guidelines existed, they were grossly
inadequate to ensure the proper and restrained use of force by police personnel.

66. Plaintiff would show that Defendant The ClTY OF DALLAS, City Manager
Gonzalez, Chief Brown and l\/layor Rawlings endorsed and/or ratified the unfettered use of
excessive force, even in situations where no crime was committed Plaintiff would show that
Defendant The ClTY OF DALLAS, City Manager Gonzalez, Chief Brown and the DPD’s
failure to properly train, supervise, test, regulate discipline or otherwise control its employees
and the failure to promulgate proper guidelines for the use of force including fire arms

constitutes a custom, policy, practice and/or procedure in condoning unjustified use of excessive

PLAINTIFF’S FIRST AMENDED COMPLA!NT Pag€ 18

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force in violation of the constitutional rights of Plaintiff. Furthermore, Defendant The CITY OF
DALLAS' and the DPD's failure to properly train, supervise, test, regulate, discipline or
otherwise control its employees in regards to the use of excessive force as authorized and/or
ratified by City Manager Gonzalez and Chief Brown serves to condone the improper behavior
previously alleged As a result of this failure to train and discipline, Plaintiff has suffered
damages within the jurisdictional limits of this court. As described above, Defendant Bradley
used excessive force when it was unnecessary despite the lack of any threat necessitating the

need to do so.

INTENTIONAL AND NEGLIGENT INFLICTION
OF EMOTIONAL DISTRESS
COUNT VII
67. Plaintiffs incorporate by reference paragraphs 1 through 66 as if fully set forth
herein Plaintiff would show if Defendant Bradley was acting in his individual capacity, when
he committed the following intentional torts against Plaintiffs:
a. Assault and Battery; and

b. False lmprisonment.

68. As a direct and proximate result of the actions of Defendant Bradley, Plaintiff
suffered loss wages, pain and suffering, mental anguish and severe emotional distress within the

jurisdictional limits of this court
69. Defendant Bradley embarked on a willful, malicious, reckless and outrageous

course of conduct that was intended to cause and, in fact, caused Plaintiff to suffer extreme and

severe mental and emotional distress, agony and anxiety.

70. Defendant Bradley’s aggressive and violent attack on an unarmed and defenseless

man offends generally accepted standards of decency and morality.

PLAlNTrFF’s FIRsr AMENDED CoMPLAiNT Page 19

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GROSS NEGLIGENCE
COUNT VIII

71. Plaintiff incorporates by reference paragraphs 1 through 70 as if fully set forth
herein

72. Defendant Bradley had a duty to employ only reasonable measures in the
treatment of Plaintiff.

73. Notwithstanding said duties, Defendant Bradley acted in a wanton and willful
manner, exhibiting such carelessness and recklessness as to evince a conscious disregard for the
life and safety of Plaintiff.

74. Defendant Bradley was aware that Butler had not committed a crime and/or
violated any traffic laws and Defendant Bradley was not facing any imminent or serious threat of
bodily harm or death Thus, he knew or should have known that he had no right to use any force
whatsoever with respect to Plaintiff. He nonetheless illegally apprehended Plaintiff through his
use of excessive force.

75. Defendant Bradley knew or should have known that his course of action of
assaulting, specifically body slamming Butler would place Plaintiff in grave danger of serious
injury.

76. As a direct and proximate result of the gross negligence of Defendant Bradley,
Plaintiff has suffered damages

DAMAGES ALL DEFENDANTS
COUNT IX

77. Plaintiff incorporates by reference paragraphs l through 76 as if fully set forth
herein Defendants’ acts and/or omissions were a proximate cause of the following

lnjuries suffered by Plaintiff:

PLAlNTIFF’s FIRSTAi\/lENDED CoMPLAiNr Page 20

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a. Actual damages',

b. Loss of wages;

c. Pain and suffering and mental anguish;

d. Mental anguish and emotional distress suffered by Plaintiff;

e Loss of quality of life;

f. Exemplary and punitive damages as well as reasonable attorneys' fees and
costs of court;

g. Pursuant to 42 U.S.C. §1988, and other applicable laws, Plaintiff should
be awarded reasonable attomey's fees for the preparation and trial of this
cause of action, and for its appeal, if required;

h. Prejudgment interest; and

i. Post judgment interest

78. Plaintiff seeks unliquidated damages in an amount that is within the jurisdictional
limits of the court

PUNlTIVE/EXEMPLARY DAMAGES
X

79. Plaintiff incorporates by reference paragraphs 1 through 78 as if fully set forth
herein Additionally and in the alternative, the conduct of Defendant Bradley was done with
malice As such, Plaintiff requests punitive and exemplary damages to deter this type of conduct
in the future ln the alternative such heedless and reckless disregard of Plaintiff"s rights, safety
and welfare is more than momentary thoughtlessness, inadvertence or misjudgment. Such
unconscionable conduct goes beyond ordinary negligence and as such Plaintiff requests punitive
and exemplary damages are awarded against Defendant Bradley in a sum which is within the

jurisdictional limits of this court

PLAINT!FF’s FIRST AMENDED COMPLAINT Page 21

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COSTS AND ATTORNEY FEES

80. Plaintiff incorporates by reference paragraphs l through 79 as if fully set forth
herein Plaintiff is entitled to an award of attorney fees and costs under 42 U.S.Co § 1988(b). As
such, Plaintiff requests the Court to award costs and attorney fees incurred in Plaintiff’s
prosecution of this litigation

JOINT AND SEVERAL LIABILITY

81. Plaintiff incorporates by reference paragraphs 1 through 80 as if fully set forth
herein Plaintiff would show that Defendants were jointly and severally liable for the negligence
and gross negligence which was the proximate cause of their injuries

CONDITIONS PRECEDENT

82. Plaintiff reserves his rights to plead and prove the damages to which he is entitled
to at the time of trial. All conditions to Plaintiff s recovery have been performed or have
occurred

TRIAL BY JURY
88. Plaintiff has paid a jury fee and demands trial by jury.
PRAYER

WHEREFORE, PREl\/IISES CONSIDERED, Plaintiff prays that Defendants be cited to
appear and answer herein; that upon final trial hereof Plaintiff has and recover judgment from
Defendants; actual damages, exemplary damages, pre-judgment interest at the legal rate; interest
on said judgment at the legal rate; costs of court; and such other and further relief, both general

and special, at law and in equity, to which Plaintiff may show he is justly entitled

PLAINT!FF’s FleT AMENDED COMPLAINT Page 22

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Respectfully submitted,

By: /s/ Darvl K. Washington

DARYL K. WASHINGTON

State Bar No. 24013714

LAW OFFICE OF DARYL K. WASHINGTON, P.C.
325 N. St. Paul St., Suite 1975

Dallas, Texas 75201

214 8 80-48 83

214-751-6685 - fax

ATTORNEYS FOR PLAINTIFF

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EXHIBIT A

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Memorandum

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CITY OF DALLAS
DATE December 24, 2012

To Assistant Chief Michael Genovesi
Patrol Bureau

sumecr Notification of lnternal Affairs Division lnvestigation
Control Number: CN2012~462

The lntemal Affairs Division has initiated the above numbered investigation
involving Police Officer Brian Bradley, #10075, assigned to the Northeast
Patrol Division. lt is alleged that Officer Bradley used excessive force
against a citizen This notification is for your information only. lf you have
any questions concerning this investigation please feel free to contact
Detective Juan Contreras, #8529 at 214-671-3990.

Christina Srnith

Deputy Chief of Police
lntemal Affairs Division
lnvestigations Bureau

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SlN 753-036-01_8 "Dallas, The City That Woxks: Diverse, Vibrant, and ngressive”

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EXHIBIT B

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Citizens Police Review Board
Meeting Record

 

 

The Citizens Police Review Board meetings are recorded Agenda materials and audiotapes may be
reviewed/copied by contacting the Citizens Police Review Board Coordinator at 214-670-3246.

 

Meeting Date: November12,2013 Convened: 1:05 p.m. Adiourned: 3:17p.m.
Board Members Present: Stan Present:

Carl Fiaines, Chair Sgt. William Griffith, lAD, DPD

l\/lartin Birnbach Sgt. Amanda Flenteria, lAD, DPD

Winnie Dixon Sgt. Steve Shaw, NE, DPD

Miriam Dominguez Detective Julia l\/lenchaca, lAD, DPD

Phil Foster Senior Corporal Janey To|den, SC, DPD

l\/lario Gutierrez w Senior Corporal Tom Naulty, lAD, DPD

David Hardt Senior Corporal Regina|d Luster, lAD, DPD
Tommy Hines Senior Corpora| Juan Contreras, lAD, DPD
Thomas Jefferson Sylvia l\/lcClellan, Assistant City Attorney, CAO, DPD
l\/like Pappas Shun Session, CMO

Felix Saucedo

Dwight Williams

Lt. Glen Edney (Teohnical Advisor/City of Ft. Worth) y §
Dr. LaTesha Watson, Lieutenant (Technical Advisor/City of Arlington)

AGENDA:

1. Ca|l to Order
Presiding: Carl Flaines, Chair

Action Taken/Recommendation(s):

l\/|r. Flaines called an Open Session of the Citizens Police Review Board meeting to order at 1:01
p.m., Tuesday, October 8, 2013 at Dallas City Hall, 1500 Marilla, Floom 6ES, Dallas, TX, 75201. A
quorum was present. The Board paused for a moment of silence in remembrance of Assistant City
Attorney Jackie l\/liddlebrooks, Citizens Police Review Board attorney.

2. introduction of newlv ag@inted Board Member: Miriam Dominguez
Presenter: Carl Raines, Chair

Action Taken/Recommendation(s): l\/lr. Raines welcomed l\/ls. l\/liriam Dominguez as newly
appointed board member representative for Councilmember l\/ledrano - District 2. l\/ls. Dominguez
gave a brief overview of her background and board members introduced themselves

 

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Citizen's Police Fieview Board Meeting Record - November 12, 2013 2

3. _A_pprovai of Meedltq Record for themb_gr 10, _2_013 Meeting
Presenter: Carl Raines, Chair

Action Taken/Recommendation(s):
Motion by: Mike Pappas`
iliiotion seconded by: Martin Birnbach

Motion passed with a unanimous vote

i\/ir. Fiaines closed the first session of the meeting at 1:12 p.m.

4 PUBL|C HEARiNGS (Cases appearing on the Board’s agendal

.' Presenter: Carl Raines, Chair

Action Taken/Fiecommendation(s): The Board reconvened at 1231 p.m. for public hearings Mr.
Hines provided an overview of the Board‘s functions, limitations and powers and read the mission
statement of the Board. Compiainants Albert Butler and the Dallas Police Department, internal
Affairs representatives were sworn in by Nlr. Raines and asked if they had any pending litigation with

the City of Dallas regarding their case.

5. 'iew Case: Mr. Aibengitier - internal Affairs investigation CN2012-462
' Presenter: Carl Ftaines, Chair

Action Taken/Recommendation(s): i\/ir. Butler provided testimony before the board. The
complainant alleged Officer Bradley ordered him out of his vehicle, pushed him against his car, and
then forced him to the ground without cause. He also alleges Officer Bradley, #10075 placed
citations in his wallet without his knowledge and refused to provide his name and badge number
when requested. Detective Juan Contreras presented a brief summary to the internal Affairs
investigation The Board had discussion. Both technical advisors made remarks on their cities

policies and procedures

Allegation #1:
The complainant alleged Officer Bradley, #10075 used inappropriate force.

Conc|usion:

Based upon the conflicting testimony and lack of an independent witness, this investigation was
unable to produce a preponderance of evidence to either prove or disprove the allegation that Officer
Bradley used inappropriate force when he used a straight arm bar takedown after Mr. Butler
displayed suspicious behavior and failed to comply with his commands Therefore, this allegation
is classified as “Not Sustained”. c

A motion was made by Mr. Hardt not to concur with internal Affairs findings of Not Sustained.
Mr. Foster seconded the motion and it passed with 11 in favor and 1 opposed. Mr. Wiiiiams

voted in opposition.

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's Police Review Board i\/leeting Fiecord - November 12, 2013

Aiiegation #2:

The complainant alleged Officer Bradley, #10075 issued him a citation without his knowiedge.

Conc:iusion:

 

Based upon the testimonial evidence collected, this investigation was able to provide a
preponderance of the evidence to disprove the allegation that Officer Bradley issued l\/lr. Butler a
citation without his knowledge Therefore, this allegation is classified as “Unfounded”.

A motion was made by Nlr. Foster to concur with internal Affairs findings of Unfounded. iVir.
Saucedo seconded the motion and it passed by unanimous vote.

Af'iegation #3':
The complainant alleged Officer Bradley, #10075 failed to provide his name and badge to ii/ir.

Butler when he requested it.

Conciusion:

` Based upon the conflicting testimony and lack of an independent witness, this investigation was
unable to produce a preponderance of evidence to either prove or disprove the allegation that Officer
Bradley failed to provide his name and badge to l\/lr. Butler when he requested it. Therefore, this

allegation is classified as “Not Sustained”.

A motion was made by Mr. Pappas to concur with internal Affairs findings of. Not Sustained.
Mr. Birnbach seconded the motion and it passed by unanimous vote.

. Previous Case (Second/Final Notice Letter): iVir. Chambless il/|cNeii- DR2_013-034

Presenter: Carl Ftaines, Chair

 

Action Taken/Recommendation(s): Fiecords indicate that Mr. i\/lcNeii was not present for board
meeting dates; October 8 and November 12, 2013. ~

A m_otion was made by Mr. Pappas to dismiss iiiir. illicNeii case. |Vir. Foster seconded the
motion and it passed by unanimous vote.

The November 12, 2013 Citizens Police Review Board meeting adjourned at 3:17 p.m.

APPROVED BY: ATTEST:

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Carl Rai'ne§', 'Chairmjan Shun Session, Board Coordinator
Citizens Police Review Board Citizens Police Review Board

  
    

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EXHIBIT C

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illlemorandum
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C|TY OF DALLAS
DATE F€bl'i,lal'y 19, 2013

m Deputy Chief Andrevv Acord
Northeast Division

stranger Chain of Command Recommendation
Control Nu'mber 2012-462

During the course of this investigation, it Was discovered that on December 7,
2012, Police Officer Brian Bradley, #10075, Northeast Division, did not
check out a body microphone as required by General Order 328.03.

lt Was also discovered that on December 7, 2012, Officer Bradley vvore his
long sleeve uniform Shirt With both sleeves rolled up Which is in violation of
General Order 802.03.

it is recommended Officer Bradley’s chain of command review these
violations and take Whatever action is deemed appropriate

Please prepare a memorandum to your Bureau Commander in response
to this chain of command recommendation Return the response to the
Internal Affairs Division with this investigation after your review.

Gloria V. Perez

Deputy Chief of Police
internal Affairs Division
Investigations Bureau

sign

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"Daiias Together, we do it Better"

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Memorandum
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l
ClTY OF DALLAS
nATE: April 6, 2013 / j

TO:

SUE] ECT:

S/N 753~036-015

§ Patrol Bureau

f §§
Asst. Chief Thomas Lawrence§' i/ Thru: Deputy Chief Andrew Acord ”/f

Northeast Division

y Chain of Command Recommendation CN2012-462

011 December 7, 2012, Police Officer Brian Bradley, #10075, conducted a traffic stop
documented on case #302528Z. During an investigation of this traffic stop, it Was
determined that Officer Bradley was not carrying a body microphone and was in violation
of the department’s uniform policy.

2010 and newer patrol vehicles are equipped with a body microphone and docking station.
2009 and older patrol vehicles are not equipped with a body microphone or docking
station. Officer Bradley was issued a 2008 patrol vehicle #8096, in an effort to utilize older
vehicles. This vehicle was not equipped with a docking station and a body microphone was

not available to Officer Bradley at the time of this incident.

Officer Bradley was wearing a long sleeve police uniform shirt, with both sleeves rolled
up. I met with Officer Bradley on April 3 2013 and discussed with him the importance of
maintaining a professional appearance by staying within the department uniform policy
Officer Bradley acknowledged the importance of a professional appearance and assured it
Would not happen again l recommend no further action.

gym/garza
ruce Chamberlain, #6652

Sergeant of Police
Northeast Patrol Division

Patrol Bureau §§ m t,,.§i`§§_§
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Dallas, The City That Works: Diverse, Vibrant and Progressive" sui».iio<)s'/‘A

